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UNITED STATES DISTRICT COURT
FOR THE DISTRICT OF CONNECTICUT


SIERRA STUBBS and GAVIN JACKSON,
                                             Case No. 3:21-cv-01525
                           Plaintiffs,

             – against –                     PLAINTIFFS’ MEMORANDUM
                                             OF LAW IN OPPOSITION TO
HEATHER GERKEN, ELLEN                        DEFENDANTS’ MOTION TO
COSGROVE, YASEEN ELDIK, and                  DISMISS
YALE UNIVERSITY

                           Defendants.
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                                PRELIMINARY STATEMENT 1

       Defendants Heather Gerken (“Gerken”), Ellen Cosgrove (“Cosgrove”), Yaseen

Eldik (“Eldik”), and Yale University (“Yale”) unlawfully targeted Plaintiffs Sierra Stubbs

(“Sierra”) and Gavin Jackson (“Gavin”), who are two students of color, to advance their

ongoing campus-politics feud with a professor at Yale Law School. Defendants’ Motion

to Dismiss the Second Amended Complaint (Dkt. No. 36-1, the “Motion”) should be

denied and the action should proceed into discovery.

       Gerkan and Cosgrove, who are two Yale Law School deans, and Eldik, a Director

at Yale Law School, worked together to blackball Sierra and Gavin from post-graduate

opportunities as retaliation for refusing to lie to support Yale’s investigation of Professor

Amy Chua (“Chua”). Defendants’ extreme and outrageous conduct is not only

impermissible under Connecticut law, but also a violation of Yale’s own policies that

supposedly endeavor to protect students.

       First, Plaintiffs have alleged a breach of contract claim against all Defendants

because Yale retaliated after Sierra and Gavin refused to make false statements against

Chua. Under Connecticut law, a private university’s policies and customs, written or

unwritten, are contractually binding. Yale’s anti-retaliation policy prohibits “any adverse

action taken against a person who has reported a concern, filed a complaint, and/or

participated in an investigation pursuant to this policy” (hereafter the “Anti-Retaliation

Policy”). When Sierra and Gavin refused to lie to support the University’s investigation,



1 All capitalized terms are defined in Plaintiffs’ Second Amended Complaint (Dkt. No. 30, “SAC”). Some
terms are redefined herein for the Court’s convenience.


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Defendants began a retaliation campaign, which included attempting to dissuade a Yale

Law School professor—who already employed Sierra and Gavin as research assistants—

from offering Sierra and Gavin a Coker Fellowship, and disseminating a harassing and

defamatory report (Dkt. No. 30-1, the “Dossier”) about Sierra and Gavin. The Court

should find that Plaintiffs have alleged a claim for breach of contract and a promissory

estoppel claim in the alternative.

       Second, Plaintiffs have alleged a defamation claim against all Defendants because

Defendants presented the Dossier as factual evidence. While Defendants now couch their

defamatory statements as “opinions,” the circumstances and nature of Defendants’

statement are clear: Defendants actively refused to investigate the specific allegations

contained in the Dossier while disseminating the Dossier to members of the public and

the Yale Law School community, including at least one professor. The Dossier provided,

among other false statements, that Sierra and Gavin were serial liars who attended

Chua’s secret dinner parties with unnamed federal judges; that they had received illicit

Coker Fellowship offers; and that they had not sought out “racial consolation” from

Chua. After Sierra and Gavin—two law students who realized that Defendants’

misconduct was harmful to their career as future lawyers—filed this suit, Professor

Monica Bell (“Bell”), on behalf of Yale and the other Defendants, then falsely stated that

Plaintiffs’ suit was filed with the sole intent of tortiously interfering with Gerken’s

reappointment as the Dean of Yale Law School. Such a statement does not, in any way,

qualify as mere speculation on the outcome of this litigation. The Court should find that

Plaintiffs have alleged a claim for defamation.

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       Third, Plaintiffs have alleged a claim for intentional interference with prospective

business relationships. Defendants’ tortious interference began when they disseminated

the defamatory Dossier to the public—while simultaneously threatening that it would

end up in every judges’ chambers if Sierra and Gavin applied for federal clerkships at

any time in the future—and directly to at least one Yale Law School professor. Such

interference effectively sabotaged Plaintiffs’ ability to apply for clerkships. The Court

should find that Plaintiffs have alleged a claim for intentional interference with

prospective business relationships.

       Fourth, Plaintiffs have alleged claims for publicity and false light because

Defendants broadcasted the Dossier—which concerns the private lives of Sierra and

Gavin—to the public. The Dossier, which claims that Sierra and Gavin had “repeatedly

lied” about their experience as students of color at Yale Law School and were supportive

of and purposely benefiting from corruption, sexual harassment, and bigotry, is highly

offensive to a reasonable person. Defendants, who refused to investigate the Dossier, had

knowledge, or acted in reckless disregard by publicizing the Dossier. Plaintiffs have

alleged claims for publicity and false light.

       Fifth, Plaintiffs have alleged a claim for intentional infliction of emotional distress

because Defendants’ retaliatory conduct was extreme and outrageous and was designed

to cause Sierra and Gavin severe emotional pain. Indeed, Defendants’ conduct has caused

such pain—such as emotional distress and anxiety—that is utterly intolerable for a school

campus. The Court should find that Plaintiffs have alleged a claim for intentional

infliction of emotional distress.

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       The Court should dismiss Defendants’ Motion and the action should proceed into

discovery.

                                   STATEMENT OF FACTS

                                      Yale Law School

       Like many top law schools, Yale Law School employs a limited grading scale and

does not compute grade point averages, presumably in an attempt to encourage

collegiality and collaboration among its students. (SAC ¶ 21.) Unlike other elite law

schools, Yale Law School, which pioneered this model in the 1960s, takes the limiting

grade scale to its current extreme. (Id. ¶ 22.) All first-term classes are ungraded, and

subsequent classes have only three grades: Honors, Pass, and Low Pass. (Id. ¶ 22.) The

Law School does not impose a mandatory curve on its professors. (Id. ¶ 22.) While this

system protects what would otherwise be the bottom half of a law school class, it makes

competition tight for its more traditionally ambitious students, who often seek

competitive federal clerkships or other government jobs, and whose limited availability

and competitive nature are considered highly prestigious and desirable. (Id. ¶ 23.) This

system means that Yale Law School students are in high competition over non-grade

signifiers of merit. (Id. ¶ 24.)

        For students who entered Yale Law School in Fall 2019, as did Plaintiffs, this

competition for non-grade signifiers of merits is heightened, as the Covid-19 Pandemic

caused Yale Law School to drop all grades for Plaintiffs’ entire first year. (Id. ¶ 24.)

Plaintiffs’ class has only four semesters of graded credits, unlike students in “typical”

classes of Yale Law School graduates, who have five semesters of graded credits on their

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transcripts. (Id. ¶ 24.)

                                   The Coker Fellowship

       One such signifier is the so-called Coker Fellowship, a highly coveted teaching

assistant position. (Id. ¶ 25.) Coker Fellows assist select professors—who each choose two

Coker Fellows—in their teaching of “small groups,” which teach both substantive law,

like Constitutional Law or Contracts, and legal research and writing. (Id. ¶ 26.) Small

groups are first-year students’ “home bases”: they are designed to allow the students to

form close relationships with at least one professor and with a cohort of peers with whom

they attend every class in their first semester. (Id. ¶ 27.) Many small groups are extremely

tight-knit groups, and all small-group professors take a special interest in forming deep

and meaningful relationships with their Coker Fellows and their small-group students.

(Id. ¶ 27.)

       Coker Fellows’ primary responsibilities include supervising memoranda, briefs,

and other first-term writing projects; providing or coordinating instruction in legal

writing and research; assisting the small-group professor in devising first-term

assignments and programs; counseling members of the small group and helping them

adjust to law school; and arranging social events and visits to courts, agencies, and other

institutions, and managing the small group social budget. (Id. ¶ 28.) Attorneys at firms

including Covington & Burling; Cravath, Swaine & Moore; Wachtell Lipton; Davis Polk;

and Jenner & Block, or those who have become professors themselves at Columbia

University or Princeton University, who achieved a Coker Fellowship, often list the

fellowship in their biographies, even decades after graduation. (Id. ¶ 29.)

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       The Coker Fellowship also offers a valuable opportunity to work closely with a

respected professor and to build relationships with a group of other Yale Law students

who will someday be colleagues and possible connections. (Id. ¶ 30.) This networking

benefit is generally seen as substantial, as it offers students a chance to distinguish

themselves to professors who would make important recommendations to judges in a

student’s search for federal clerkship positions. (Id. ¶ 31.)

                    Sierra and Gavin Begin Their Studies at Yale and Meet Chua

       Plaintiffs Sierra and Gavin enrolled at Yale Law School in the Fall of 2019. (Id.

¶ 32.) After a successful academic year in her first year of law school, Sierra met Chua for

the first time in the Spring of 2020 in her International Business Transactions class. (Id.

¶ 33.) Gavin met Chua for the first time in the Spring of 2021 while also enrolled in her

International Business Transactions course. (Id. ¶ 33.) Chua became perhaps the most

famous member of the Yale faculty following the success of her 2011 memoir Battle Hymn

of the Tiger Mother and has served as an important mentor for her students, many of whom

successfully obtain prestigious clerkships. (Id. ¶ 34.)

       Defendant Gerken began publicly criticizing Chua in September 2018—a year

before Sierra or Gavin had even enrolled in the law school—during the confirmation

hearings for now-Supreme Court Justice Brett Kavanaugh. (Id. ¶ 35.) In response to

anonymous public allegations that amounted to Chua having given advice on dress or

appearance to clerkship candidates preparing for interviews, Gerken sent an email to all

members of the Yale Law School community (which was quickly leaked to the press)

concerning the “allegations of faculty misconduct” supposedly against Chua and

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describing them as “of enormous concern” to Gerken. (Id. ¶ 36.) In her missive, Gerken

also directed students who had “been affected by misconduct” to “reach out to”

Defendant Cosgrove. (Id. ¶ 37.) It was subsequently reported in 2019 that Chua had

entered a “no-socializing” agreement with the University whereby she agreed to not

socialize with students off-campus. (Id. ¶ 38.)

       Starting in February 2021, both Sierra and Gavin became embroiled in Gerken’s

and Cosgrove’s apparent vendetta against Chua. (Id. ¶ 39.) That month, Sierra and Gavin

separately attended Zoom “office hours” with Chua to discuss their coursework. (Id. ¶

39.) These office hours discussions also covered career discussions and any concerns that

Sierra or Gavin voiced about the Law School. (Id. ¶ 40.) In particular, Gavin struggled

with what he felt was a lack of institutional support for students of color, which ended

with his frustrated resignation from the board of the Yale Law Journal. (Id. ¶ 41.) His

resignation received media coverage including on the popular legal blog (particularly

among law students) Above the Law. (Id. ¶ 41.) This caused Gavin to face significant

hostility at the school. (Id. ¶ 41.)

       Chua, having similarly faced such race-based, online-instigated hostility, as well

as being one of the few faculty members of color at Yale Law School, was in a unique

position to offer Gavin guidance on these issues. (Id. ¶ 42.) Given the sensitive nature of

the subject, Sierra and Gavin (who was Gavin’s friend and had also faced similar

hostility) wished to discuss their issues with Chua in person. (Id. ¶ 43.) To avoid meeting

in public to discuss such a sensitive subject, Sierra, Gavin, and Chua decided to meet at

Chua’s home, which was a common practice amongst Yale faculty members. (Id. ¶ 44.)

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(In fact, Gerken has met with both Sierra and Gavin at Gerken’s own residence on several

occasions.) (Id. ¶ 44.) Sierra and Gavin met Chua twice at her home, in February 2021 and

March 2021. (Id. ¶ 45.) Both meetings included only Gavin, Sierra, and Chua, and no

meals were involved. (Id. ¶ 45.)

                                        The Dossier

       Unbeknownst to Sierra or Gavin at the time, these two meetings somehow became

subject of pernicious law school gossip. (Id. ¶ 46.) One of their classmates went so far as

to compile a bizarre 20-page document, the Dossier, that purported to document the

“secret dinner parties” that Chua was supposedly hosting with Gavin, Sierra, and

unidentified federal judges. (Id. ¶ 46.) The Dossier eventually gained such wide

circulation that it became the subject of investigative reporting from news outlets

including The New Yorker, The New York Times, and The Atlantic. (Id. ¶ 47.) The New Yorker

described the Dossier as “extremely thin,” and The New York Times anonymously quoted

“several” Yale Law professors who had told the newspaper that “they were shocked at

how unpersuasive” the Dossier was. (Id. ¶ 48.)

       On its face, the Dossier—which refers to Sierra and Gavin as “Jane Doe” and “John

Doe” in its main text, but identifies them by name through exhibited screenshots of

private text messages—claims that Sierra and Gavin had “repeatedly lied” about their

experience as students of color at the Law School, and further “repeatedly lied” about the

existence of the secret dinner parties, before supposedly admitting their existence to the

Dossier’s author either in person or in “self-deleting” text messages. (Id. ¶ 49.)

       As “evidence,” the Dossier included a number of text messages, some with Sierra

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or Gavin, none of which consisted of them admitting to any secret dinner parties—since

no such dinner parties ever occurred. (Id. ¶ 50.) On the contrary, in large part, they

seemed to consist of the Dossier’s author making his own declarations in text messages—

to Sierra, Gavin, and other unidentified friends—about the existence of such parties. (Id.

¶ 50.) The Dossier also included photos of Gavin’s feet outside in the snow as “evidence”

and denounced Sierra and Gavin for “deliberately enabling” a “secret atmosphere of

favoritism, misogyny, and sexual harassment.” (Id. ¶ 51.)

       Sierra and Gavin became aware of the Dossier in late April 2021, when it had

begun to circulate among the Yale Law School student body. (Id. ¶ 52.) Shortly thereafter,

beginning on April 23, 2021, Cosgrove and Eldik contacted Sierra and Gavin concerning

the Dossier. (Id. ¶ 53.) However, they were not investigating the fact that a Yale Law

School student was circulating such a document for an apparent harassing purpose,

despite Plaintiffs emphasizing the harassment they were experiencing and asking for

help, or even investigating the allegations made in the Dossier. (Id. ¶ 53.)

       Instead, Cosgrove and Eldik pressured Sierra and Gavin to make a formal

statement confirming the allegations against, and lodge their own formal complaint,

against Chua. (Id. ¶ 54.) Despite Sierra and Gavin repeatedly denying the Dossier’s

assertions, Cosgrove and Eldik pressured Sierra and Gavin to make such a statement,

even calling them on a daily basis over the course of a week in April 2021, insisting that

Sierra and Gavin had a “moral obligation” to “future generations of students” to make

the false statements against Chua. (Id. ¶ 55.) Cosgrove and Eldik also made references to

Sierra of the “effort against Professor Chua” and insisted that if Sierra would “just give

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them” a statement, they would have “enough” against Chua. (Id. ¶ 56.)

       During the course of this week, Sierra and Gavin consistently refused to make

false statements, and instead repeatedly asked Cosgrove and Eldik for assistance against

the troubling invasion of privacy and resulting harassment that they suffered. (Id. ¶ 57.)

Cosgrove and Eldik ignored these requests to help and discouraged Sierra and Gavin

from filing a formal complaint concerning the harm the Dossier and its creator had caused

Sierra and Gavin. (Id. ¶ 58.) Instead, Cosgrove and Eldik ratcheted up the pressure. (Id. ¶

59.) On a joint call including Cosgrove, Eldik, and Sierra, Eldik told Sierra that the Dossier

would likely end up in “every judges’ chambers,” “following [her] even after [she]

graduates,” effectively sabotaging any hopes of her securing a clerkship whether she

applied now or in the future. (Id. ¶ 59.)

       In a joint call including Cosgrove, Eldik, and Gavin, Eldik and Cosgrove strongly

suggested that Gavin should not apply for a clerkship in the summer of 2021 because of

the Dossier’s wide publicity. (Id. ¶ 60.) It was suggested that, for these reasons, Sierra and

Gavin should cooperate by making a statement against Professor Chua. (Id. ¶ 61.)

Cosgrove also directly threatened Sierra, claiming that Yale Law School was receiving

complaints about her potentially serving as a Coker Fellow due to the Dossier, and

further suggested that such complaints would be moot if Sierra made a statement against

Chua. (Id. ¶ 62.)

       That threat having no effect, Cosgrove became more direct, telling Sierra that if

Sierra accepted a Coker Fellowship with the professor—despite Sierra’s repeated denials

that she had received an illicit offer from the professor—Cosgrove or another member of

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the Yale Law School administration would approach the professor with the allegations.

(Id. ¶ 63.) In his own interactions with Cosgrove and Eldik, Gavin unequivocally denied

the Dossier’s claim that the professor had extended him an illicit Coker Fellowship offer.

(Id. ¶ 64.)

       When Gavin asked Cosgrove and Eldik to help him deal with the false rumors

being spread by other students to the contrary, Cosgrove and Eldik indicated that they

were unaware of any complaints or rumors to that effect—despite having threatened

Sierra with those very same rumors and complaints—and insinuated that they would

require concrete proof of this harassment before assisting Gavin. (Id. ¶ 65.)

       When Gavin informed Cosgrove and Eldik about his concerns regarding the lies

and misrepresentations included in the Dossier, it was suggested to Gavin that unless he

filed a complaint against Chua, the administration could not effectively protect him from

further harassment. (Id. ¶ 66.)

                                    Gerken’s Retaliation

       In April 2021, Defendant Gerken became personally involved in the efforts to

pressure Sierra and Gavin to make a false statement against Chua. (Id. ¶ 67.) Gerken’s

direct involvement began when Sierra, who was a student in Gerken’s academic clinic

and was then writing a lengthy paper under Gerken’s direct and personal supervision,

sought Gerken’s advice in dealing with the Dossier. (Id. ¶ 68.) While it later became

apparent that Gerken was fully aware of the Dossier, she feigned lack of knowledge when

she advised Sierra to “be candid” with Cosgrove, Eldik, and other faculty members who

may hear of the Dossier. (Id. ¶ 69.) In response, Sierra reiterated to Gerken that the

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allegations in the Dossier were false and questioned why her own candor was at issue.

(Id. ¶ 69.)

       A few days thereafter, Gerken and Cosgrove personally approached the professor,

who was in the process of hiring Coker Fellows for his small group, with the intent to

induce the professor to decline to extend a fellowship to either Sierra or Gavin. (Id. ¶ 70.)

The purpose of Gerken’s and Cosgrove’s approach to the professor was to not only

dissuade him from offering a Coker Fellowship to Sierra and Gavin, but to convince him

that Sierra and Gavin were lying about their interactions with Chua, making them

untrustworthy and unsuited for employment, despite the professor already employing

both Sierra and Gavin as his research assistants. (Id. ¶ 71.)

       In the course of this attempt, Gerken and Cosgrove brought with them a copy of

the Dossier that Cosgrove had personally marked up with highlighting and annotations

to show where Cosgrove believed that Sierra and Gavin were lying. (Id. ¶ 72.) Cosgrove

did not try to investigate the specific allegations contained in the Dossier with Sierra or

Gavin, even though they repeatedly informed her that it was full of lies and

misrepresentations. (Id. ¶ 72.) These actions constituted improper retaliation, which

Yale’s Handbook defines as “any adverse action taken against a person who has reported

a concern, filed a complaint, and/or participated in an investigation pursuant to this

policy.” (Id. ¶ 73.)

                                 Harm to Sierra and Gavin

       The actions of Gerken, Cosgrove, and Eldik caused significant harm to Sierra and

Gavin. (Id. ¶ 74.) In addition to the significant career damage created by Defendants’

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actions, Sierra has taken a leave of absence from Yale Law School due to the ongoing

harassment that arose. (Id. ¶ 75.) Gavin has resigned as Gerken’s speechwriter. (Id. ¶ 75.)

Given the false accusations, both Sierra and Gavin did not apply for any judicial

clerkships, and their ability to form and maintain relationships with their peers has also

been irreparably and permanently stunted. (Id. ¶ 76.) Moreover, because of Defendants’

misconduct, both Sierra and Gavin have suffered insomnia, anxiety, nausea, and loss of

appetite. (Id. ¶ 77.)

                               Yale Continues to Defame Plaintiffs

       On November 15, 2021, Plaintiffs filed their Complaint in this action. (Id. ¶ 78.) On

the same day, Yale, through Bell, a Yale Law School Associate Professor of Law and of

Sociology with expertise in constitutional law, issued and publicized additional false

accusations about Sierra and Gavin. (Id. ¶ 79.) Bell accused Sierra and Gavin, two

prospective lawyers, early in their careers, of bringing their suit not to seek a remedy for

their wrongs, but out of improper motivations and intentions. (Id. ¶ 80.) Specifically, Yale,

through Bell, accused Sierra and Gavin of acting with the sole intent of disrupting Yale’s

process of considering whether to reappoint Gerken as Dean of Yale Law School with

press attention. (Id. ¶ 81.)

       In a statement to the Yale Daily News, Bell stated that the only point of Plaintiffs’

lawsuit was to generate press attention and “cause a stir.” (Id. ¶ 82.) Bell stated that Sierra

and Gavin do not “think they can win” the lawsuit, but rather just want to “make

things . . . look bad.” Bell stated that this lawsuit is “frivolous” and “embarrassing for”

Sierra and Gavin. (Id. ¶ 82.) Neither Sierra nor Gavin have discussed this litigation with

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Bell or any of the Defendants. (Id. ¶ 83.)

                                    LEGAL STANDARD

       Federal Rule of Civil Procedure (“Rule”) 8 requires that pleadings contain a “short

and plain statement of the claim showing that the pleader is entitled to relief.” Fed. R.

Civ. P. 8(a)(2). On a Rule 12(b)(6) motion, a court accepts all “well-pleaded factual

allegations” as true and based on that determines “whether they plausibly give rise to an

entitlement to relief.” Ashcroft v. Iqbal, 556 U.S. 662, 679 (2009). In order words, the court’s

task at the pleadings stage is not “to assess the weight of the evidence that might be

offered on either side,” but rather to “assess the legal feasibility of the Complaint.” Lynch

v. City of New York, 952 F.3d 67, 75 (2d Cir. 2020). A court should also exclude documents

that are not integral to the Complaint. Goel v. Bunge, Ltd., 820 F.3d 554, 560 (2d Cir. 2016).

                                        ARGUMENT

I.     PLAINTIFFS HAVE PLEADED A BREACH OF CONTRACT CLAIM UNDER
       CONNECTICUT LAW

       A. Under Connecticut Law, a Private University’s Policies and Customs,
          Written or Unwritten, Are Contractually Binding

       Plaintiffs have pleaded a breach of contract claim because Yale has an Anti-

Retaliation Policy. Under Connecticut law, the “basic legal relationship between a

student and a private university or college is contractual in nature” and the “catalogs,

bulletins, circulars, and regulations of the institution made available to the matriculant

become a part of the contract.” Burns v. Quinnipiac Univ., 120 Conn. App. 311, 320-21

(Conn. App. Ct. 2010); Osberg v. Yale Univ., No. CV085021879S, 2009 WL 659072, at *3

(Conn. Super. Ct. Feb. 11, 2009); Johnson v. Schmitz, 119 F. Supp. 2d 90, 93 (D. Conn. 2000).

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But a university’s contractual commitments to its students are not limited to its formal

written regulations. A court that is asked to enforce an asserted contract between a

student and his university must examine the oral and written expressions of the parties in

light of the policies and customs of the particular institution. Burns, 120 Conn. App. at 321;

Osberg, 2009 WL 659072, at *8; Johnson, 119 F. Supp. 2d at 93 (emphasis added in each

case). Thus, a student alleging a breach of contract by a university may rely both on the

university’s written regulations “and other express or implied promises.” Burns, 120 Conn

App. at 321; Osberg, 2009 WL 659072, at *8; Johnson, 119 F. Supp. 2d at 93 (emphasis added

in each case). Plaintiffs have pleaded a breach of contract claim because, as discussed

below, Yale has an Anti-Retaliation Policy.

       B. Plaintiffs Have Stated a Violation of Yale’s Anti-Retaliation Policy

       As pleaded in the SAC, Yale University has a formal, written policy prohibiting

retaliation against students who have participated in discrimination or harassment

investigations.

       Retaliation means any adverse action taken against a person who has reported
       a concern, filed a complaint, and/or participated in an investigation pursuant to
       this policy. Retaliation includes conduct that would discourage a
       reasonable person from engaging in activity protected under this policy.
       Retaliation may be present even where there is a finding of “no
       responsibility” on the underlying allegations of Discrimination or
       Harassment.

Yale University, Yale University Policy Against Discrimination and Harassment, Sec.

9000, https://your.yale.edu/policies-procedures/policies/9000-yale-university-policy-

against-discrimination-and-harassment (emphasis added). Accepted as true, Plaintiffs’


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allegations plainly state a plausible claim that Defendants violated this Anti-Retaliation

Policy by taking “adverse action” against Sierra and Gavin, who had “participated in an

investigation” and “reported a concern.” (SAC ¶¶ 73, 86.)

       Defendants first try to evade this conclusion by claiming that the Anti-Retaliation

Policy “was not in effect when the events Plaintiffs complain of occurred.” (Motion at 11.)

Because the Anti-Retaliation Policy had “an effective date of August 1, 2021,” and because

it “has no retroactive language” (id.), Defendants say Plaintiffs’ contract claim is

“doomed.” (Id.) What Defendants neglect to mention is that the August 1, 2021, Anti-

Retaliation Policy was, according to Yale’s own public statements, simply a codification

in one place of already existing written policies distributed throughout many different

pre-existing documents. On August 2, 2021, Yale published a statement to the entire

university community unequivocally acknowledging that fact, stating that the August 1

policy “sets out in one place the definitions of discrimination, harassment, and retaliation

applicable to all students, faculty, and staff that previously have been located in various

documents.” Yale University, Yale’s Policy Against Discrimination and Harassment and

New Accessibility Website, Aug. 2, 2021, https://secretary.yale.edu/news/yales-policy-

against-discrimination-and-harassment-and-new-accessibility-website              (emphasis

added).

       Having publicly announced and acknowledged that the August 1 policy merely

restated existing Yale prohibitions, Yale is estopped from denying that now. Indeed, the

August 2, 2021, statement is itself an express promise to the Yale community that

retaliation as it was defined in the Anti-Retaliation Policy was already prohibited before

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August 1, 2021, and that alleged retaliation occurring prior to that date would be judged

by the definition of retaliation set forth in the Policy. 2

         Next, conceding the applicability of the Anti-Retaliation Policy, Defendants claim

that Plaintiffs’ allegations do not state a violation of that Policy. (Motion at 14-18.) While

Defendants admit (as they must) that Sierra and Gavin allege that they were retaliated

against “because they refused to make statements against [Professor] Chua” (Motion at

15 (quoting SAC ¶ 87)), that retaliation, according to Defendants, is not prohibited by the

Anti-Retaliation Policy because Sierra and Gavin never claimed to have themselves been

victims of racial or sexual harassment or discrimination. (Motion at 14.) But Defendants

do not address that Gavin and Sierra reported concerns regarding racial discrimination

and harassment, as the Dossier attempted to delegitimize their experiences as students of

color.

         Defendants’ argument either misunderstands Plaintiffs’ retaliation claim or

attempts to obfuscate the plain meaning of Yale’s Anti-Retaliation Policy. The latter

expressly prohibits retaliation not merely against individuals who report being

victimized by discrimination or harassment, as Plaintiffs did, but also against individuals

who “participate in an investigation” into allegations of discrimination or harassment.

See Anti-Retaliation Policy, supra. It is undisputed that sexual harassment and attacks on

Sierra and Gavin’s experiences as students of color are included in the kinds of




2 Should the Court deem it necessary to see the pre-existing “various documents” to which Yale made
reference in its August 2, 2021 statement, those documents are in Yale’s control and possession, not
Plaintiffs’ control, and Plaintiffs should be given an opportunity to discover them.

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discrimination or harassment covered by this policy. See id. And further, as expressly

pleaded in the Complaint, the allegations against Professor Chua, as well as against Sierra

and Gavin themselves, included allegations (however spurious) involving “sexual

harassment.” (SAC ¶ 51.)

       Hence, the retaliation Defendants inflicted on Sierra and Gavin squarely violated

the Anti-Retaliation Policy. Sierra and Gavin participated as “witnesses” dragged into an

investigation into (among other things) allegations of sexual harassment, and they were

retaliated against because of the (truthful) answers they gave in that investigation—

answers Gerken and the Law School Administration did not want to hear. Even

Defendants would surely concede that Yale’s Anti-Retaliation Policy prohibits retaliation

against a student witness who participated in a sexual harassment investigation and

corroborated the allegations. Such retaliation would be a clear violation of the Policy. This

means that Defendants are apparently arguing that the Anti-Retaliation Policy goes out

of operation when a student witness gives a statement in favor of the accused. In other

words, if a student witness corroborates harassment, retaliation is prohibited, but if the

student denies harassment, the retaliation floodgates are thrown wide open. That

argument finds no support in the text of the Anti-Retaliation Policy, and flies in the face

of analogous case law. Cf. Deravin v. Kerik, 335 F.3d 195, 204-05 (2d Cir. 2003) (holding

that same Title VII anti-retaliation provision applied to a witness who contradicted

another employee’s allegations of sexual harassment).

       Finally, even if the Anti-Retaliation Policy did not prohibit the retaliation alleged

in this case—which it does—Defendants’ motion to dismiss would still have to be rejected

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because, as stated above, Connecticut law does not limit a university’s binding

contractual commitment to its formal, written regulations, but in addition includes a

university’s unwritten “customs” and “implied promises” as well. See Burns, 120 Conn.

App. at 321; Osberg, 2009 WL 659072, at *8; Johnson, 119 F. Supp. 2d at 93. Accordingly,

Defendants’ claim that the Anti-Retaliation Policy does not apply to this case, even if

accepted, would merely raise material disputed issues of fact. Reasonable students at Yale

Law School would surely expect that if they report a concern or are asked to participate

in an investigation into misconduct of any kind, and if they participate in that

investigation and answer all questions truthfully, the school is not allowed to retaliate

against them. Thus, regardless of the applicability of the formal Anti-Retaliation Policy,

Sierra and Gavin would be entitled to discovery as to the existence at Yale of other anti-

retaliation policies, customs, and/or implied promises.

      At bottom, because Plaintiffs’ allegations of retaliation must be accepted as true on

this motion, Defendants are taking the extraordinary position that Yale University

permits a Dean to retaliate at will against students who deny accusations of faculty

misconduct or report a concern of racial discrimination and harassment. According to

Defendants, it makes no difference if the students’ statements are completely true and if

the Dean is retaliating against them due to some kind of improper vendetta against the

faculty member in question. According to Defendants, the Dean is perfectly free to try to

destroy those students’ careers without breaching any Yale custom, policy, or implied

promise to its students. Plaintiffs venture to suggest that most members of the Yale

community—faculty, administrators, and students alike—would be shocked by this

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claim. Defendants’ outrageous position should be rejected outright because it is refuted

by the plain language of the Anti-Retaliation Policy, but at a bare minimum, Sierra and

Gavin are entitled to discovery to prove the existence other policies, customs, and implied

promises at Yale prohibiting a dean from retaliating against students who don’t give her

the answers she wants to hear.

II.    PLAINTIFFS HAVE PLEADED A CLAIM FOR PROMISSORY ESTOPPEL IN
       THE ALTERNATIVE

       In the alternative to Plaintiffs’ breach of contract claim, Sierra and Gavin also seek

to enforce Defendants’ promise not to retaliate—a promise which they relied on to their

detriment—on the basis of promissory estoppel. A claim for promissory estoppel works

in the alternative to a claim for breach of contract. Fed. R. Civ. P. 8(d)(2) (providing “[a]

party may set out 2 or more statements of a claim or defense alternatively or

hypothetically, either in a single count or defense or in separate ones. If a party makes

alternative statements, the pleading is sufficient if any one of them is sufficient”);

Brookridge Funding Corp. v. Nw. Hum. Res., Inc., 170 F. App’x. 170, 172 (2d Cir. 2006)

(observing that, in Connecticut, promissory estoppel serves as an alternative basis to

enforce a contract). In order to prevail on a claim for promissory estoppel, a plaintiff must

establish (1) a clear and definite promise, (2) a change in position in reliance on the

promise, and (3) injury. Seitz v. J.C. Penney Props., Inc., Case No. 3:15-cv-01131 (VAB), 2017

WL 4316874, at *6 (D. Conn. Sept. 28, 2017) (stating the elements). The promise must be

sufficiently clear and definite such that the promisor could reasonably expect to induce

reliance. Id. Plaintiffs have pleaded a promissory estoppel claim.


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       Defendants made a clear and definite promise—the Anti-Retaliation Policy—to

Sierra and Gavin that they would not retaliate against them if they ever complained of

harassment. As set forth above, the Anti-Retaliation Policy was also a promise to

Plaintiffs that prohibited retaliation against students who have participated as witnesses

in discrimination or harassment investigations. In reliance on this promise, Plaintiffs

requested assistance from Cosgrove and Eldik regarding the invasion of privacy and

resulting harassment that they suffered after raising their concerns. (SAC ¶ 91.)

Defendants, however, ignored these requests for to help, discouraged Sierra and Gavin

from filing any sort of formal complaint, and then retaliated against Sierra and Gavin. (Id.

¶ 92.) Plaintiffs have pleaded a claim for promissory estoppel in the alternative.

III.   PLAINTIFFS’ HAVE PLEADED AN INTENTIONAL INTEREFERENCE
       CLAIM

       A. Plaintiffs Have Alleged a Specific Business Relationship

       Plaintiffs have pleaded an intentional interference claim because, as Defendants

partially concede, they have alleged a specific business relationship with third parties.

Under Connecticut law, a claim for tortious interference with business expectancies

requires three elements: (1) a business relationship between the plaintiff and another

party; (2) the defendant’s intentional interference with the business relationship while

knowing of the relationship; and (3) as a result of the interference, the plaintiff suffers

actual loss. Indiaweekly.com, LLC v. Nehaflix.com, Inc., 596 F. Supp. 2d 497, 505 (D. Conn.

2009) (stating the elements); Anthem Sports, LLC v. Under the Weather, LLC, 320 F. Supp.

3d 399, 418 (D. Conn. 2018) (same). Plaintiffs have alleged an intentional interference


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claim.

         Plaintiffs have alleged a business relationship—as Defendants concede (Motion at

2)—with a Yale Law School professor. Specifically, Gerken and Cosgrove approached a

law school professor and discouraged the professor, who already employed Sierra and

Gavin as long-term research assistants, from hiring Sierra and Gavin as Coker Fellows.

(SAC ¶ 4.) Both Sierra and Gavin suffered actual harm because they both lost the Coker

Fellowship. (Id. ¶ 97.) But Plaintiffs have also alleged that they had a prospective

relationship with judges’ chambers around the country. (Id. ¶ 94.) As pleaded, the Coker

Fellowship is a prestigious teaching assistant position that often leads to federal

clerkships. (Id. ¶ 4.) On a joint call including Cosgrove, Eldik, and Sierra, Eldik told Sierra

that the Dossier would likely end up in “every judges’ chambers,” following [her] even

after she graduates,” effectively sabotaging any hopes of her securing a clerkship whether

she applied now or in the future. (Id. ¶ 59.) In a joint call including Cosgrove, Eldik, and

Gavin, Eldik and Cosgrove even strongly suggested that Gavin should not apply for a

clerkship in the summer of 2021 because of the Dossier’s wide publicity—which

Defendants disseminated. (Id. ¶¶ 6, 60.) Plaintiffs have alleged that Defendants

intentionally interfered with their prospective business relationships with a Yale Law

School professor and clerkship opportunities.

         Defendants, however, argue that Plaintiffs have not identified “any specific

relationships” that were lost by Defendants’ interference. (Motion at 20.) But Defendants’

authority is inapposite because here, Plaintiffs have not merely pleaded that they lost

opportunities in the legal industry. See Kollar v. Allstate Ins. Co., No. 3:16-CV-01927 (VAB),

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2017 WL 3222535, at *11 (D. Conn. July 27, 2017) (dismissing claim because plaintiff only

alleged that the defendants interfered with his expectation “that he would continue to

earn premiums and/or commissions,” not a “specific relationship or opportunity” that

the defendants caused him to forgo); see also Michalsky v. Moffly Publ’n, Inc., No.

FSTCV196042420S, 2020 WL 5537003, at *11 (Conn. Super. Ct. Aug. 13, 2020) (same).

Plaintiffs, instead, have pleaded the specific relationships that were harmed: the Coker

Fellowship with the Professor (SAC ¶ 97) and federal clerkship opportunities (Id. ¶ 94).

Plaintiffs have pleaded that Defendants intentionally interfered with their potential

business relations.

       B. Plaintiffs Have Alleged an Actual Loss

       Plaintiffs have alleged an actual loss to support their tortious interference claim.

Under Connecticut law, it is an essential element of the tort of unlawful interference with

business relations that the plaintiff suffered an actual loss. Chiaravallo v. Middletown

Transit Dist., No. 3:18-cv-1360 (SRU), 2021 WL 4310662, at *20 (D. Conn. Sept. 22, 2021)

(stating the standard). Plaintiffs have not alleged, as Defendants’ authority holds (Motion

at 7), that damage to their “professional reputation”—which occurred—establishes their

total actual loss. See Golek Saint Mary’s Hosp., Inc., 34 A.3d 452, 462 (Conn. App. Ct. 2012)

(dismissing interference claim over simple reputational harm). Instead, Plaintiffs have

alleged they were unable to become Coker Fellows because of Defendants retaliation, an

opportunity that would have provided valuable post-graduate opportunities. (SAC ¶¶

29, 30, 96.) Plaintiffs, furthermore, were unable to apply for clerkships because

Defendants stunted such opportunities. (Id. ¶ 76.) Plaintiffs have pleaded an intentional

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interference with prospective business relations because they have alleged an actual loss.

IV.    PLAINTIFFS HAVE PLEADED A DEFAMATION CLAIM

       Plaintiffs have pleaded a claim for defamation per se. To establish a prima facie

case of defamation, the plaintiff must demonstrate that (1) the defendant published a

defamatory statement; (2) the defamatory statement identified the plaintiff to a third

person; (3) the defamatory statement was published to a third person; and (4) the

plaintiff’s reputation suffered injury as a result of the statement. Skakel v. Grace, 5 F. Supp.

3d 199, 206 (D. Conn. 2014) (stating the elements). As to the first element, a defamatory

statement is defined as a communication that tends to harm the reputation of another or

lowers them in the estimate of the community or to deter third persons from association

or dealing with them. Id. In the case of statement that is defamatory per se, injury to a

plaintiff’s reputation is conclusively presumed such that a plaintiff needs neither plead

nor prove it. Cox v. Galazin, 460 F. Supp. 2d 380, 388 (D. Conn. 2006). Plaintiffs have

pleaded a claim for defamation per se.

       Defendants shared and stated numerous false statements defaming Sierra and

Gavin to third parties. The defamatory statements include the sharing of the Dossier

which Defendants knew or reasonably should have known as defamatory. The Dossier

claimed that Sierra and Gavin “repeatedly lied” about the existence of secret dinner

parties. (SAC ¶ 49.) Shortly after commencing this action, Defendants, through Bell,

shared and stated that Sierra and Gavin, two prospective lawyers, brought this suit with

the sole intent of disrupting Yale’s process of reappointing Gerken as Dean of Yale Law

School with press attention. (Id. ¶ 81.) In a statement to the Yale Daily News, Bell also

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stated that the only point of Plaintiffs’ lawsuit is to generate press attention and “cause a

stir.” Bell stated that Sierra and Gavin do not “think they can win” the lawsuit, but rather

just want to “make things . . . look bad.” Bell went on to conclude that this lawsuit is

“frivolous” and “embarrassing for” Sierra and Gavin. (Id. ¶ 82.) Each of the defamatory

statements made by Defendants were false and disparaged Sierra and Gavin in their

profession of law. Plaintiffs have pleaded a claim for defamation per se.

       A. Defendants Presented their Statements as a Fact—Not Simply as Opinions

       Defendants Gerken and Cosgrove, who refused to investigate the Dossier,

proceeded to share the Dossier as factual statements. (Id. ¶¶ 53, 72.) When determining

whether a statement is an evaluative opinion or a statement of objective fact, the Court

evaluates three factors: (1) whether the circumstances in which the statement is made

should cause the audience to expect an evaluative or objective meaning; (2) whether the

nature and tenor of the actual language used by the declarant suggests a statement of

evaluative opinion or objective fact; and (3) whether the statement is subject to objective

verification. Dunbar v. Omnicom Grp., Inc., No. 3:19-cv-00956 (KAD), 2021 WL 633732, at

*14 (D. Conn. Feb. 18, 2021) (summarizing relevant case law from the Connecticut

Supreme Court). Whether a statement is an assertion of a fact, or an assertion of an

opinion, is a question of law. Id. Gerken and Cosgrove asserted the Dossier as a fact.

       As alleged, Gerken and Cosgrove personally approached a Yale Law School

professor, who was in the process of hiring Coker Fellows for his small group, with the

intent to induce the professor to decline to extend a fellowship to either Sierra or Gavin.

(SAC ¶ 70.) The purpose of Gerken and Cosgrove’s approach to the professor was to not

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only dissuade him from offering a Coker Fellowship to Sierra and Gavin, but to convince

him that Sierra and Gavin were lying about their interactions with Chua regarding the

facts presented in the Dossier, making them untrustworthy and unsuited for

employment, despite the professor already employing both Sierra and Gavin as his

research assistants. (Id. ¶ 71.) In the course of this attempt, Gerken and Cosgrove brought

with them a copy of the Dossier that Cosgrove had personally marked up with

highlighting and annotations to show where Cosgrove believed that Sierra and Gavin

were lying. (Id. ¶ 72.)

       While Defendants argue Cosgrove and Gerken only “believed” that Sierra and

Gavin were lying (Motion at 24), Cosgrove and Gerken proceeded to share the Dossier as

a fact they accepted as true, because they did not, as pleaded, even try to investigate the

specific allegations contained in the Dossier with Sierra or Gavin, even though Plaintiffs

repeatedly informed them that it was full of lies and misrepresentations (Id.) Defendants

were not expressing a favorable or unfavorable opinion on Sierra and Gavin, but asserted

statements that implied knowledge of existing facts, which Defendants refused to

investigate. See Shea v. City of Waterbury, No. CV085007926, 2009 WL 1057986, at *5 (Conn.

Super. Ct. Feb 20, 2009). Gerken and Cosgrove presented the Dossier as a fact and not as

simply their opinions on Plaintiffs’ credibility.

       Bell, moreover, asserted that, Plaintiffs initiated this suit “with the sole intent of

disrupting Yale’s process of considering whether to reappoint Gerken as Dean with press

attention.” (SAC ¶ 81.) Bell’s statement, however, does not—as Defendants argue

(Motion at 26)—only speculate on “the probable outcome of a hypothetical litigation” or

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condemn their suit as “baseless, frivolous, or without merit” (Motion at 26). Stevens v.

Helming, No. CV116019393S, 2014 WL 3805495, at *9 (Conn. Super. Ct. June 23, 2014)

(finding that the defendant’s statement that allegations would be supportable are words

speculating hypothetical litigation). Here, Bell, a professor at Yale Law School, states that

Plaintiffs, two law students, “do not think they can win” their lawsuit, and therefore are

attempting to tortiously interfere with Yale’s operations and abuse the court system.

Though Bell attempts to couch some of her statements as opinions to the Yale Daily News,

these statements are nevertheless statements a reasonable person would understand to

be facts. (SAC ¶ 81.) Bell has alleged statements to the press that are statements of

objective fact.

       B. Bell’s Defamatory Statements, as Alleged, Were Made on the Behalf of Yale

       Bell’s defamatory statements, which were presented as an objective fact, were

made on behalf of Yale. A cause of action under a theory of respondeat superior requires

that the plaintiff allege facts to support that the action (1) occurs primarily within the

employer's authorized time and space limits; (2) is of the type that the employee is

employed to perform; and (3) is motivated, at least in part, by a purpose to serve the

employer. Harp v. King, 835 A.2d 953, 974 (Conn. 2003). Here, Plaintiffs have alleged that

the defamatory statements by Bell, who was even identified as a Yale professor, to the

Yale Daily News were on behalf of Yale. (SAC ¶ 100.) The statement served Bell’s

employer, Yale, as it concerned an attempt to discredit Plaintiffs and weaken their

position with false allegations that Plaintiffs were solely attempting to cause a stir during

Gerken’s potential reappointment process for Dean of Yale Law School. (Id.) Bell,

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therefore, was at least partially motivated to serve her employer by accusing Plaintiffs of

interfering with Yale’s operations. See A-G Foods, Inc. v. Pepperidge Farm, Inc., 579 A.2d 69,

73 (Conn. 1990). Bell’s defamatory statements were made on behalf of Yale.

       The Court should find that Plaintiffs have stated a claim for defamation.

V.     PLAINTIFFS HAVE PLEADED UNREASONABLE PUBLICITY AND FALSE
       LIGHT CLAIMS

       Plaintiffs have pleaded unreasonable publicity and false light claims against

Defendants because Defendants shared the Dossier with the public. An unreasonable

publicity claim requires showing public disclosure of any matter that (1) would be highly

offensive to a reasonable person, and (2) is not of legitimate concern to the public. Perkins

v. Freedom of Info. Comm’n, 635 A.2d 783, 790 (Conn. 1993). A false light claim requires a

Plaintiff to show (1) that the false light in which she was placed would be highly offensive

to a reasonable person, and (2) the actor had knowledge of or acted in reckless disregard

as to the falsity of the publicized matter and the false light in which she would be placed.

See Grigorenko v. Pauls, 297 F. Supp. 2d 446, 448 (D. Conn. 2003); Borg v. Cloutier, 239 A.3d

1249, 1268 (Conn. App. Ct. 2020). As alleged, the Dossier was disseminated by Defendants,

which placed Sierra and Gavin at the center of an ongoing campus-politics feud. (SAC ¶

6.) Plaintiffs allege that not only did Gerken and Cosgrove knowingly circulate the

Dossier, but they also specifically shared it with a professor. (Id. ¶ 9.) Defendants’ Motion,

however, ignores Plaintiffs’ allegation of public dissemination, and instead argues that

Defendant Gerken and Cosgrove only “shared a marked-up copy of the ‘dossier’ with one

person: the Professor,” which is simply untrue. Defendants, furthermore, maintain that


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the Dossier was already public before Gerken and Cosgrove shared the Dossier with a

professor. (Motion at 31.) But, again, Defendants’ Motion ignores Plaintiff’s pleading, as

the Dossier was disseminated to the public by Defendants, without any legitimate

purpose. (SAC ¶ 6.) In fact, the fact that various media outlets—which Defendants now

cite to (Motion at 31)—would never have picked up on the defamatory Dossier and

legitimized the Dossier if Defendants hadn’t been responsible for its circulation in the

first place. Plaintiffs have pleaded unreasonable publicity and false light claims because

Defendants disseminated the Dossier.

       The Court should find that Plaintiffs have stated claims for unreasonable publicity

and false light.

VI.    PLAINTIFFS HAVE PLEADED A CLAIM FOR INTENTIONAL INFLICTION
       OF EMOTIONAL DISTRESS

       Plaintiffs have pleaded a claim for IIED. In order to establish a claim for intentional

infliction of emotional distress, the plaintiff must establish four elements: (1) that the

defendant intended to inflict emotional distress or that they knew or should have known

that emotional distress was the likely result of his conduct, (2) that the conduct was

extreme and outrageous, (3) that the defendant's conduct was the cause of the plaintiff's

distress, and (4) that the emotional distress sustained by the plaintiff was severe. Pipkin

v. Bridgeport Bd. of Educ., 323 F. Supp. 2d 326, 335 (D. Conn. 2004) (stating the standard).

Plaintiffs have pleaded a claim for IIED.

       A. Gerken and Cosgrove’s Alleged Conduct Was Extreme and Outrageous

       Gerkan and Cosgrove’s alleged conduct was extreme and outrageous because


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their conduct constituted retaliation against two students of color. Liability for intentional

infliction of emotional distress requires conduct that is so extreme and outrageous that it

goes beyond all possible bounds of decency, is regarded as atrocious, is utterly intolerable

in a civilized society, and is of a nature that is especially calculated to cause, and does

cause, mental distress of a very serious kind. See Taylor v. Maxxim Med., Inc., No.

3:99CV338 AHN, 2000 WL 630918, at *3 (D. Conn. 2000). The extreme and outrageous

conduct in this matter constituted retaliation.

       As pleaded, Defendants were investigating allegations of what occurred at “secret

dinner parties” that Professor Chua was supposedly hosting with Gavin, Sierra, and

unidentified federal judges. (SAC ¶ 46.) When Sierra and Gavin refused to lie to support

Defendants’ investigation, Defendants retaliated by sharing the Dossier with a professor

at Yale, who was considering Sierra and Gavin for the Coker Fellowship. (Id. ¶ 57.)

Cosgrove also directly threatened Sierra, claiming that Yale Law School was receiving

complaints about her potentially serving as a Coker Fellow due to the Dossier, and

further suggested that such complaints would be moot if Sierra made a statement against

Chua. (Id. ¶ 62.) That threat having no effect, Cosgrove became more direct, telling Sierra

that if Sierra accepted a Coker Fellowship with the professor—despite Sierra’s repeated

denials that she had received an illicit offer from the professor—Cosgrove or another

member of the Yale Law School administration would approach the professor with the

allegations. (Id. ¶ 63.) When Gavin informed Cosgrove and Eldik about his concerns

regarding the lies and misrepresentations included in the Dossier, it was suggested to

Gavin that unless he filed a complaint against Chua, the administration could not

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effectively protect him from further harassment. (Id. ¶ 65.) These acts constituted

retaliation, which is extreme and outrageous conduct.

       B. Plaintiffs Have Alleged Severe Emotional Distress

       Plaintiffs have pleaded severe emotional distress. Under Connecticut law, proving

a claim of intentional infliction of emotional distress requires proof that a plaintiff's

emotional distress was severe, and such determination may stand even if evidence of

medical or other treatment is not pleaded. See Berry v. Loiseau, 614 A.2d 414, 426 (Conn.

1992). Plaintiffs have pleaded that Defendants’ conduct caused both Sierra and Gavin to

suffer extreme emotional distress, leading to insomnia, anxiety, nausea, and loss of

appetite. (SAC ¶ 117.) Gavin and Sierra, moreover, continue to experience distress, pain

and suffering, inconvenience, and loss of enjoyment of life stemming from Defendants’

misconduct. (Id. ¶ 118.) Plaintiffs have alleged severe emotional distress.

       The Court should find that Plaintiffs have stated a claim for IIED.

                                     CONCLUSION

       For the reasons stated above, the Court should deny Defendants’ Motion and

allow them to proceed with their claims for breach of contract, promissory estoppel,

intentional   interference   with    prospective    business    relationship,   defamation,

unreasonable publicity, false light, and intentional infliction of emotional distress.




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